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                          IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF UTAH, CENTRAL DIVISION


 UTAH PHYSICIANS FOR A HEALTHY
 ENVIRONMENT, INC.,                                   PLAINTIFF’S MOTION FOR SUMMARY
                                                          JUDGMENT TO ESTABLISH
                             Plaintiff,                 DEFENDANT JOSEPH TIMMONS’
                                                                  LIABILITY
        v.

 HARLEY-DAVIDSON OF SALT LAKE CITY, LCC
 (d/b/a Harley-Davidson of Salt Lake City and           Case No. 2:22-cv-00473-DBB-DAO
 South Valley Harley-Davidson Shop);
 NORTHERN UTAH POWER SPORTS, LLC
 (d/b/a Golden Spike Harley-Davidson and
 Saddleback Harley-Davidson); and JOSEPH L.                   Judge David B. Barlow
 TIMMONS, JR.,                                           Magistrate Judge Daphne A. Oberg

                             Defendants.


                      I.    INTRODUCTION AND REQUESTED RELIEF

        Plaintiff Utah Physicians for a Healthy Environment (“UPHE”) respectfully moves for

 partial summary judgment, pursuant to Rule 56 of the Federal Rules of Civil Procedure, and

 DUCivR 56-1, to establish Defendant Joseph L. Timmons, Jr.’s liability as a responsible

 corporate officer. Mr. Timmons is responsible for the violations of his dealerships under

 the Clean Air Act, Utah SIP, and Noise Control Act, including removing pollution and noise

 control systems or devices from new and used motorcycles, selling aftermarket devices


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 that defeat emission controls, and owning, operating and/or using motorcycles without all

 of their air and noise pollution control systems and devices maintained in an operable

 condition. See generally Third, Sixth, Ninth, and Eighteenth Causes of Action, Compl., ECF

 No. 2.

          UPHE asserts there are no material facts in dispute regarding Mr. Timmons’

 comprehensive control over his dealerships, his obligation to ensure his dealerships

 comply with the Utah SIP, the Clean Air Act and the Noise Control Act, and his failure to

 ensure such compliance. Thus, the Court should hold Mr. Timmons jointly and severally

 liable for each of his dealerships’ violations as a matter of law.

                II.   Statement of Undisputed Facts as to Defendant Timmons

          1.      Defendant Joseph Timmons is majority owner of Defendants Harley-

 Davidson of Salt Lake City, LLC (d/b/a Harley-Davidson of Salt Lake City and South Valley

 Harley-Davidson Shop) and Northern Utah Power Sports, LLC (d/b/a Golden Spike Harley-

 Davidson and Saddleback Harley-Davidson). Ans. to Pl.’s Interrog. No. 2 to Def. Timmons,

 First Set, Appendix of Evidence (AOE) Ex. 11; Dep. of Joseph Timmons, 5:22-6:7, AOE Ex.

 13; Decl. of Timmons in Supp. of Defs’ Opp’n to Pl.’s Mot. for Prelim. Inj. ¶ 2, ECF No. 69-1,

 AOE Ex. 14.

          2.      Mr. Timmons holds all voting power for both Harley-Davidson of Salt Lake

 City and Northern Utah Power Sports. Ans. to Pl.’s Interrog. No. 2 to Def. Timmons, First

 Set, Ex. 11.

          3.      Mr. Timmons has owned the Harley-Davidson motorcycle dealerships for

 more than 40 years. He bought his longest continuously running storefront, Harley-

 Davidson of Salt Lake City, in 1984. Timmons Dep., 9:21-10:23, AOE Ex. 13.



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        4.     Mr. Timmons is directly involved in hiring the store and shop managers for

 Harley-Davidson of Salt Lake City and Northern Utah Power Sports. He also is directly

 involved in hiring the parts manager who covers both entities. Ans. to Pl.’s Interrog. No. 4 to

 Def. Timmons, First Set, AOE Ex. 11.

        5.     Mr. Timmons stays in contact with his store managers on weekly basis and is

 present at the dealerships at least once a week and up to three days a week. Dep. of Mike

 Udy, 30:16-31:4, AOE Ex. 15; Dep. of Troy Spratt, 9:14-17, AOE Ex. 16.

        6.     Mr. Timmons was aware that non-Harley Davidson aftermarket exhaust

 systems were being sold and installed at his dealerships. Ans. to Pl.’s Interrog. No. 14 to

 Def. Timmons, Second Set, AOE Ex. 12; Decl. of Timmons in Supp. of Defs’ Opp’n to Pl.’s Mot.

 for Prelim. Inj. ¶ 6, ECF No. 69-1, AOE Ex. 14.

        7.     Mr. Timmons knows that original equipment manufacturer (OEM) exhaust

 systems can contain one or more catalytic converters and that his dealerships “sometimes

 removed OEM exhaust systems during the applicable period [of this lawsuit].” Ans. to Pl.’s

 Interrog. Nos. 16 & 17 to Def. Timmons, Second Set, AOE Ex. 12. Mr. Timmons also knows

 that aftermarket exhaust systems without catalytic converters can replace OEM exhaust

 systems with catalytic converters. Id. at Ans. No. 18, AOE Ex. 12.

        8.     Mr. Timmons was aware that his dealerships sold and installed aftermarket

 exhaust systems without catalytic converters that replaced OEM exhaust systems with

 catalytic converters. Id. at Ans. No. 20, AOE Ex. 12.

        9.     Mr. Timmons’ Salt Lake City dealership admits that it has “repeatedly sold

 and/or installed aftermarket ‘full’ and ‘slip-on’ exhaust parts that do not have catalytic

 converters.” Compl. ¶ 102, ECF No. 2; Ans. ¶ 35, ECF No. 21.



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        10.     Mr. Timmons admits that he has the authority to prevent the sale of

 aftermarket parts at his dealerships. Timmons Dep. 91:1-4, AOE Ex. 13.

        11.     Mr. Timmons admits that he personally selects and buys used motorcycles

 with defeat parts at motorcycle auctions across the country to be re-sold at his dealerships.

 Timmons Dep., 53:9-54:11, AOE Ex. 13. Mr. Timmons admits that he re-sells both the

 motorcycles and their defeat parts as a package deal. Timmons Dep. 82:7-12, AOE Ex. 13.

        12.     After EPA’s 2017 Clean Air Act enforcement action against Harley-Davidson

 Motor Company for selling electronic tuners that defeated emission control settings in

 motorcycles, Mr. Timmons did not seek out additional information or education on the air

 and noise emissions requirements applicable to his dealerships. Timmons Dep. 75:12-17,

 AOE Ex. 13.

        13.     Mr. Timmons admits he is “aware of no aftermarket parts manufacturers who

 place [noise control] labels on their exhausts.” Decl. of Timmons in Supp. of Defs’ Opp’n to

 Pl.’s Mot. for Prelim. Inj. ¶ 9, ECF No. 69-1, AOE Ex. 14.

                                       III.    ARGUMENT

        Joseph Timmons is Jointly and Severally Liable as a Responsible
        Corporate Of+icer for the Utah SIP, Clean Air Act, and Noise Control Act
        Violations of his Dealerships

        Defendant Timmons is a Responsible Corporate Of1icer of the corporate defendants

 in this matter. Mr. Timmons has full control over his dealerships, and he knew about,

 participated in, and failed to stop their Utah SIP, Clean Air Act, and Noise Control Act

 violations. Simply put, Mr. Timmons failed to use his controlling leadership authority to

 prevent his dealerships from violating the law and therefore should be held jointly and

 severally liable for the violations his dealerships committed as a matter of law.



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        A corporate of*icer may be held liable for the violations of the corporations they lead

 as a “responsible corporate of"icer” when they “knew of the facts underlying the violations;

 . . . had the ability to prevent and correct the violations; and failed to do so.” Utah Physicians

 for a Healthy Env’t v. Diesel Power Gear LLC, 374 F. Supp. 3d 1124, 1138 (D. Utah 2019); see

 also id. at 1137 n.68 (citing additional cases that hold the responsible corporate of9icer

 doctrine applies in civil actions to enforce federal environmental laws like the Clean Air Act

 and Clean Water Act).

        Earlier, the district court in United States v. Mac’s Muf"ler Shop, Inc., No. C85-138R,

 1986 WL 15443, (N.D. Ga. 1986), found a defendant personally liable under the Clean Air

 Act because “as president, sole owner and manager of Mac’s [he] was in a position to

 prevent removals of catalytic converters by Mac’s.” Id. at *7. This is consistent with the

 broad reach and purpose of the Clean Air Act: “the act imposes not only a positive duty to

 seek out and remedy violations when they occur but also, and primarily, a duty to

 implement measures that will insure violations will not occur,” Diesel Power Gear, 374 F.

 Supp. 3d at 1138 (quoting H.R. Rep. 95-294, at 1149 (1977)).

        As a responsible corporate of/icer, Mr. Timmons should be held personally liable for

 his dealerships’ violations of the Utah SIP, at Utah Admin. Code R307-201-2, Clean Air Act,

 at 42 U.S.C. § 7522(a)(3)(B), and the Noise Control Act at 42 U.S.C. § 4909(a)(2)(B),

 including the dealerships’ removal of, or rendering inoperative, emission control systems

 from motorcycles; owning or operating motorcycles without their emission controls; sale

 and installations of aftermarket defeat parts; and using motorcycles after one or more noise

 control devices had been removed.




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        Mr. Timmons admits that he has complete authority, as the majority owner of the

 dealerships and their holding companies, with all of the voting power, to prevent or correct

 their Clean Air Act, Utah SIP, and Noise Control Act violations. Statement of Facts (SOF)

 ¶¶ 1, 2, & 10; AOE Exs. 11, 13, 14. UPHE has also amply shown that he has failed to exercise

 that authority here, considering these violations span years and could not have gone

 unnoticed. Mr. Timmons is well aware of his dealerships’ sale of the used motorcycles he

 bought with defeat parts at auction, but still he has not stopped this patently illegal practice.

 See ECF No. 49 (Pl.’s Mot. for a Preliminary Injunction).

        The undisputed facts also show that Mr. Timmons has knowledge, actual and

 constructive, of the facts giving rise to these violations. He buys motorcycles that he knows

 are equipped with defeat devices—devices that increase both air and noise emissions—and

 sells them. SOF ¶ 11; AOE Ex. 13. No corporate of+icer could be more actively and

 knowingly engaged in such prohibited transactions.

        Mr. Timmons is actively involved with the dealerships: he is present in the stores one

 to three days a week, personally hired his store and parts managers, and stays in contact

 with them on a weekly basis. SOF ¶¶ 4-5; AOE Exs. 11, 16. He is aware that his stores sell

 and install aftermarket parts. SOF ¶ 6; AOE Exs. 12, 14. He is aware that non-Harley

 Davidson aftermarket exhaust systems were sold and installed at the dealerships; that the

 dealerships sometimes removed OEM exhaust systems; that aftermarket exhaust systems

 without catalytic converters can replace OEM exhaust systems; that the dealerships sold

 and installed aftermarket exhaust systems without catalytic converters that replaced OEM

 exhaust systems with catalytic converters; and that the dealership sells motorcycles with




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 aftermarket parts that lack noise control labels on the exhausts. SOF ¶¶ 6-9, 13; AOE Exs.

 12, 14; Compl. ¶ 102, ECF No. 2; Ans. ¶ 35, ECF No. 21.

        The evidence shows Mr. Timmons has long been “aware” of air and noise emissions

 regulations applicable to his businesses, even if has willfully failed to seek out further

 information on what those obligations are or how to comply with them. SOF ¶ 12, AOE Ex.

 13. Mr. Timmons is under a positive obligation to inform himself of his Clean Air Act and

 Noise Control Act obligations and ensure they do not occur. See Diesel Power Gear, 374 F.

 Supp. 3d at 1138 (quoting H.R. Rep. 95-294, at 1149 (1977)).

        Putting these undisputed facts together, Mr. Timmons knew about, and had the

 absolute authority to stop his dealerships’ Clean Air Act, Utah SIP, and Noise Control Act

 violations, , and yet he has failed to exercise that authority for years. As the responsible

 corporate of*icer, the Court should hold Mr. Timmons joint and severally liable for the

 dealerships’ Utah SIP, Clean Air Act and Noise Control Act violations.

                                      IV.    CONCLUSION

        UPHE’s motion for summary judgment demonstrates Joseph Timmons is a

 responsible corporate of/icer and therefore is personally liable for his dealerships’

 violations of the Utah SIP, Clean Air Act and Noise Control Act. There being no material

 facts in dispute, UPHE’s motion should be granted as a matter of law.

        DATED this 6th day of December, 2023.




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                                         Respectfully submitted,

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